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       EXPERIAN INFORMATION SOLUTIONS,
   8   INC.
   9
                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12
        BRYCE ABBINK, individually and         Case No. 8:19-cv-01257-JFW-PJWx
  13
        on behalf of all others similarly      Hon. John F. Walter
  14    situated,
                       Plaintiff,              DEFENDANT EXPERIAN
  15                                           INFORMATION SOLUTIONS
              v.                               INC.’S REQUEST FOR
  16                                           JUDICIAL NOTICE IN
        EXPERIAN INFORMATION                   SUPPORT OF ITS MOTION TO
  17                                           DISMISS PLAINTIFF’S
        SOLUTIONS, INC., et al.                COMPLAINT PURSUANT TO
  18                                           FEDERAL RULE OF CIVIL
                      Defendants.              PROCEDURE 12(b)(6)
  19
  20                                           Date:     September 16, 2019
                                               Time:     1:30 p.m.
  21                                           Location: 7A
  22
                                               Complaint Filed: June 21, 2019
  23
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  26
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  28
                                                      EXPERIAN’S REQUEST FOR JUDICIAL NOTICE
                                                                        ISO MOTION TO DISMISS
                                                                  Case No. 8:19-cv-01257-JFW-PJWx
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   1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Evidence 201,
   3   Defendant Experian Information Solutions, Inc. (“Experian”), through its counsel
   4   of record, hereby respectfully requests that the Court take judicial notice of the
   5   following:
   6         1.     A true and correct page of a website providing information to assist
   7   consumers in avoiding student loan scams, maintained by the U.S. Department of
   8   Education, https://studentaid.ed.gov/sa/repay-loans/avoiding-loan-scams, attached
   9   hereto as Exhibit 1.
  10         2.     A true and correct page of a website providing information to assist
  11   consumers in understanding the role of loan servicers in relation to the provision of
  12   student    loans,      maintained   by   the     U.S.    Department        of     Education,
  13   https://studentaid.ed.gov/sa/repay-loans/understand/servicers#my-servicer, attached
  14   hereto as Exhibit 2.
  15
       Dated:       August 14, 2019                   JONES DAY
  16
  17
                                                      By: /s/ Ryan D. Ball
  18                                                     Ryan D. Ball
  19                                                  Attorneys for Defendant
                                                      EXPERIAN INFORMATION
  20                                                  SOLUTIONS, INC.
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                                                               EXPERIAN’S REQUEST FOR JUDICIAL NOTICE
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2         Experian Information Solutions, Inc. (“Experian”) respectfully requests that
   3   the Court take notice of the following documents:
   4         (1)    Exhibit 1, a website providing information to assist consumers in
   5         avoiding student loan scams, maintained by the U.S. Department of
   6         Education, https://studentaid.ed.gov/sa/repay-loans/avoiding-loan-scams;
   7         (2)    Exhibit 2, a website providing information to assist consumers in
   8   understanding the role of loan servicers in relation to the provision of student loans,
   9   maintained        by       the       U.S.       Department          of         Education,
  10   https://studentaid.ed.gov/sa/repay-loans/understand/servicers#my-servicer.
  11         The Court may take judicial notice of each of these exhibits pursuant to
  12   Federal Rule of Evidence 201(b), because Exhibits 1 and 2 are reliable,
  13   governmental websites.
  14         Federal Rule of Evidence 201 provides that a fact is subject to judicial notice
  15   if it is one not subject to reasonable dispute because it “(1) is generally known
  16   within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
  17   determined from sources whose accuracy cannot reasonably be questioned.” Fed.
  18   R. Evid. 201(b). Facts that are subject to judicial notice may be considered on a
  19   motion to dismiss pursuant to Rule 12(b)(6). See GE Engine Servs. UNC Holding
  20   1, Inc. v. Century Indem. Co., 250 F. Supp. 2d 1237, 1240 (C.D. Cal. 2001) (citing
  21   Emrich v. Touche Ross & Co., 846 F.2d 1190 (9th Cir. 1988)); Fed. R. Evid. 201(d)
  22   (“The court may take judicial notice at any stage of the proceeding.”). When
  23   supplied with the necessary information to demonstrate accuracy, judicial notice is
  24   mandatory. See Fed. R. Evid. 201(c)(2) (“The court . . . must take judicial notice if
  25   a party requests it and the court is supplied with the necessary information.”); Lyon
  26   v. Gila River Indian Cmty., 626 F.3d 1059, 1075 (9th Cir. 2010).
  27         Under Rule 201, the court can take judicial notice of “[p]ublic records and
  28   government documents available from reliable sources on the Internet,” such as
                                                            EXPERIAN’S REQUEST FOR JUDICIAL NOTICE
                                                                             ISO MOTION TO DISMISS
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   1   websites run by governmental agencies. See Gerritsen v. Warner Bros. Entm't Inc.,
   2   112 F. Supp. 3d 1011, 1033–34 (C.D. Cal. 2015); see also Daniels–Hall v. National
   3   Education Association, 629 F.3d 992, 999 (9th Cir. 2010) (taking judicial notice of
   4   information on the websites of two school districts because they were government
   5   entities); New Mexico ex rel. Richardson v. Bureau of Land Mgmt., 565 F.3d 683,
   6   703 n.22 (10th Cir. 2009) (taking judicial notice of “[t]he websites of two federal
   7   agencies”); Hansen Beverage Co. v. Innovation Ventures, LLC, No. 08–CV–1166–
   8   IEG, 2009 WL 6597891, *1 (S.D. Cal. Dec. 23, 2009) (citing Jackson v. City of
   9   Columbus, 194 F.3d 737, 745 (6th Cir. 1999)); Paralyzed Veterans of Am. v.
  10   McPherson, No. C 06–4670, 2008 WL 4183981, *5 (N.D. Cal. Sept. 8, 2008)
  11   (“Information on government agency websites has often been treated as properly
  12   subject to judicial notice.”). Exhibits 1 and 2, consumer informational publications
  13   maintained by the U.S. Department of Education, are webpages maintained by a
  14   reliable governmental entity, and are thus appropriate for judicial notice. See
  15   Daniels-Hall, 629 F.3d at 998–99. As to Exhibit 1 in particular, this document is
  16   incorporated by reference in Plaintiff Abbink’s operative pleading. (Compl. at ¶ 32
  17   n.3 (ECF No. 1)).
  18         Accordingly, Exhibits 1 and 2 attached hereto are properly the subject of
  19   judicial notice and may be considered by this Court in deciding Experian’s motion
  20   to dismiss.
  21   Dated:        August 14, 2019             JONES DAY
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  23                                             By: /s/ Ryan D. Ball
                                                    Ryan D. Ball
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                                                 Attorneys for Defendant
  25                                             EXPERIAN INFORMATION
                                                 SOLUTIONS, INC.
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                                                          EXPERIAN’S REQUEST FOR JUDICIAL NOTICE
                                                                           ISO MOTION TO DISMISS
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